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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY
ATLAS DATA PRIVACY
CORPORATION, as assignee of
individuals who are covered persons,
JANE DOE-1, a law enforcement officer,
                                       Case No. 2:24-cv-10571
JANE DOE-2, a law enforcement officer,
EDWIN MALDONADO, SCOTT
MALONEY, JUSTYNA MALONEY, and
WILLIAM SULLIVAN,

                Plaintiffs,
      v.
CONSTELLA INTELLIGENCE, INC.,
RICHARD ROES 1–10, fictitious names
of unknown individuals and ABC
COMPANIES 1–10, fictitious names of
unknown entities,
                Defendants.


                    APPLICATION FOR CLERK’S ORDER
                 EXTENDING TIME UNDER LOCAL RULE 6.1(b)

      Constella Intelligence, Inc. (“Constella”) hereby applies for a Clerk’s Order

under Local Rule 6.1(b) extending by 14 days the time within which Constella may

answer, move, or otherwise respond to the Complaint filed by Plaintiffs herein. (See

ECF No. 1.) Constella represents that:

      1.    Constella has not sought, or obtained, a previous extension of time to

            answer, move, or otherwise respond to the Complaint.



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     2.    Constella removed this above-captioned action to this Court on

           November 18, 2024.

     3.    Under Federal Rule of Civil Procedure 81(c)(2) and Federal Rule of

           Civil Procedure 6(a)(1)(C), the time to answer, move, or otherwise

           respond to the Complaint expires on November 25, 2024.

     4.    Constella respectfully requests a 14-day extension of time within which

           to answer, plead, or otherwise respond to the Complaint—i.e., until

           December 9, 2024.

Dated: November 22, 2024                      Respectfully Submitted,

                                              /s/ Lauri A. Mazzuchetti
                                              Lauri A. Mazzuchetti
                                              Whitney M. Smith
                                              Aaron J. Gold
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                                              Counsel for Defendant
                                              Constella Intelligence, Inc.




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                                   ORDER

      The application is ORDERED GRANTED; the time within which defendant

Constella must answer, move or otherwise respond to the Complaint is extended to

December 9, 2024.



Dated: ______, 2024                    By:
                                                       Deputy Clerk




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